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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA

OLGA CHANEY, individually and                       *      CIVIL ACTION
On behalf of ROCKY CHANEY                           *
                                                    *      NUMBER
VERSUS                                              *      SECTION
                                                    *
                                                    *      JUDGE
ACADIA PARISH SHERIFF, KP GIBSON,                   *
WARDEN OF ACADIA PARISH JAIL LAURA                  *      MAGISTRATE
BENOIT, OFFICER JUNIUS BELLARD,                     *
OFFICER GREG BENOIT, and OFFICER                    *      CIVIL RIGHTS
EVAN RICHARD                                        *      JURY TRIAL DEMAND


                                        COMPLAINT

                                  I.     INTRODUCTION

1.    This case involves the tragic death on August 20, 2019 of Rocky Chaney, a 38-year-old

      American and Acadia Parish citizen. As a result of a deterioration in his mental condition,

      Mr. Chaney became manically depressed. The plaintiff, Olga Chaney, became concerned

      for her husband’s and her own well-being. She had recently had him placed in a local

      mental hospital but he was released days later. At this point she did not know what to do

      to get her husband help with his depression. She did the only thing that she knew which

      was to call 911. Officers came to the residence and detained Mr. Chaney in Acadia Parish

      Jail.

2.    Instead of providing adequate, appropriate and necessary care and treatment to Mr. Chaney,

      the defendants failed in their professional duties and their legal obligations. Mr. Chaney

      was treated by the defendants in a callous, harsh and indifferent manner, resulting in his

      death by suicide in a cell in the Acadia Parish Jail while rendered under suicide watch. The

      Acadia Parish Jail cell and the presumed suicide watch was an outmoded, dangerous and


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      completely inadequate facility, which, at all relevant times, was not a reasonable

      accommodation for a person suffering from Mr. Chaney’s illness and disability and in his

      condition. The Acadia Parish Jail was operated and supervised by the Acadia Parish

      Sheriff’s Office, under the leadership of the Warden of the Acadia Parish Jail.

3.    Mr. Chaney was not adequately treated or cared for while in the custody of the defendants.

      He was denied appropriate and necessary medical, psychiatric, nursing and therapeutic

      care, treatment and supervision. Instead, he was confined in a hostile, barren and isolated

      environment that exacerbated and aggravated his condition, which was fragile and

      precarious to begin with. Defendants and their staff provided Mr. Chaney with access to

      materials to harm himself while in an acute state of emotional and psychological crisis.

      The mistreatment of Mr. Chaney by the defendants and their staff in this facility was in

      contravention of the community standard of care and violated applicable federal and state

      constitutional and statutory standards.

4.    The defendants’ actions and omissions, manifested in inadequate medical screening and

      intake, inadequate staffing, inadequate training and supervision of staff, inadequate

      facilities, inadequate policies and procedures relating to diagnosis and treatment of

      mentally ill and suicidal persons in custody, as well as inadequate care, treatment, and

      monitoring of Mr. Chaney were directly and causally related to Mr. Chaney’s death.

                                   II.    JURISDICTION

5.    This action is brought pursuant to 42 U.S.C. 1983, pursuant to the First, Fourth, Eighth,

      and Fourteenth Amendments to the United States Constitution, Section 504 of the

      Rehabilitation Act of 1973 which authorizes actions to redress discrimination based on

      disability and handicap, Title II off the Americans with Disabilities Act of 1990, 42



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      U.S.C. 12131, 42 U.S.C. 1988 and 42 U.S.C. 12205, et. seq. Jurisdiction is founded on

      28 U.S. C. Sections 1331 and 1343 and the aforementioned statutory and constitutional

      provisions. Plaintiff further invokes the pendant jurisdiction of this Court to consider the

      claims arising under state law pursuant to 28 U.S.C. Section 1367. A jury trial is

      requested.



                                 III.    PARTY PLAINTIFF

6.    Olga Chaney is the surviving wife of Rocky Chaney, who died in the custody and care of

      the defendants as further described herein. Olga Chaney is a person of the full age of

      majority, who resides in Acadia Parish, Louisiana. At the time of his death, Rocky

      Chaney was married to Olga Chaney. He was a resident of Acadia Parish, Louisiana.

                               IV.      PARTY DEFENDANTS

7.    Defendant Acadia Parish Sheriff, Sheriff KP Gibson, at all times described herein, and, as

      such is responsible for the hiring, training, supervision, discipline and control of the

      employees of the APJ, including medical and correctional staff. He is also responsible

      for the supervision, administration, policies, practices, customs and operations of the APJ

      and its correctional facilities. He is a final policymaker. He is liable both directly and

      vicariously for the actions complained of herein. He is sued in his individual and in

      his official capacity for those acts and omissions, which occurred while he was

      Sheriff. As Sheriff of Acadia Parish he accepts federal funds and is charged with

      providing custodial care to prisoners in custody of the Acadia Parish Jail and

      directed all medical providers and/or deputies in the care of Mr. Rocky Chaney,




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      deceased. He is a person of the full age of majority and, on information and belief, a

      resident of the Western District of Louisiana.

8.    Acadia Parish Jail Warden, Laura Benoit, at all times described herein, and, as such is

      responsible for the hiring, training, supervision, discipline and control of the employees

      of the APJ, including medical and correctional staff. She is also responsible for the

      supervision, administration, policies, practices, customs and operations of the APJ

      and its correctional facilities. She is a final policymaker. She is liable both directly and

      vicariously for the actions complained of herein. She is sued in her individual and in

      her official capacity for those acts and omissions, which occurred while she was Warden.

      As Warden of Acadia Parish Jail, she accepts federal funds and is charged with

      providing custodial care to prisoners in custody of the Acadia Parish Jail and

      directed all medical providers and/or deputies in the care of Mr. Rocky Chaney,

      deceased. She is a person of the full age of majority and, on information and belief, a

      resident of the Western District of Louisiana.

9.    Defendant Officer Junius Bellard, employed by the Acadia Parish Sheriff’s Office as

      a correctional officer. At all pertinent times herein he was responsible for insuring that

      there was appropriate and constant monitoring of Mr. Rocky Chaney while he was on

      “suicide watch” and of communicating reported or obvious medical needs of prisoners,

      including Rocky Chaney to appropriate persons. He was responsible for monitoring,

      checking on, and supervising the condition of Rocky Chaney as described herein. He

      also had the duty to report and to intervene if and when they became aware that other

      deputies or employees of the APJ were not properly performing their duties relative to

      Rocky Chaney. He is sued in his official and individual capacities. He is of full age of



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      majority and, on information and belief, he is a resident of the Western District of

      Louisiana.

10.   Defendant Officer Greg Benoit, employed by the Acadia Parish Sheriff’s Office as

      a correctional officer. At all pertinent times herein he was responsible for insuring that

      there was appropriate and constant monitoring of Mr. Rocky Chaney while he was on

      “suicide watch” and of communicating reported or obvious medical needs of prisoners,

      including Rocky Chaney to appropriate persons. He was responsible for monitoring,

      checking on, and supervising the condition of Rocky Chaney as described herein. He

      also had the duty to report and to intervene if and when they became aware that other

      deputies or employees of the APJ were not properly performing their duties relative to

      Rocky Chaney. He is sued in his official and individual capacities. He is of full age of

      majority and, on information and belief, he is a resident of the Western District of

      Louisiana.

11.   Defendant Officer Evan Richard, employed by the Acadia Parish Sheriff’s Office as a

      correctional officer. At all pertinent times herein he was responsible for insuring that there

      was appropriate and constant monitoring of Mr. Rocky Chaney while he was on “suicide

      watch” and of communicating reported or obvious medical needs of prisoners, including

      Rocky Chaney to appropriate persons. He was responsible for monitoring, checking on,

      and supervising the condition of Rocky Chaney as described herein. He also had the duty

      to report and to intervene if and when they became aware that other deputies or employees

      of the APJ were not properly performing their duties relative to Rocky Chaney. He is sued

      in his official and individual capacities. He is of full age of majority and, on information

      and belief, he is a resident of the Western District of Louisiana.



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                             V.      STATEMENT OF FACTS


12.   Upon information and belief, just days before August 2, 2019, Rocky Chaney had been

      hospitalized at Central Louisiana Psychiatric Hospital in Alexandria, Louisiana for

      attempting to hang himself at his home. Rocky spent a few days at the mental hospital

      before he was forced out and back with his wife. A few days after getting out of the mental

      hospital, Rocky became manically depressed and started acting out which precipitated the

      need for his wife, Olga, to seek additional help for him. At this time, Mrs. Olga contacted

      the police and that is how Rocky became a resident of Acadia Parish Jail on or about

      August 2, 2019.

13.   At the time of the booking, Rocky was prescribed psychotic medicine that was absolutely

      vital to his mental health. APJ was aware of this medication and the need for the same.

14.   While a resident of APJ, Rocky attempted suicide on August 17, 2019 by trying to

      swallow sharp objects. As a result, he was found coughing up blood. APJ transferred

      Rocky to Acadia General Hospital. At Acadia General, APJ Officers informed the

      hospital that Rocky tried to commit suicide and told them explicitly that he wanted to kill

      himself.

15.   As a result, the hospital noted his mental illness and informed the APJ that mental illness

      can exacerbate suicidal thoughts of someone who is severely depressed.

16.   Therefore, the doctors at Acadia General explicitly informed APJ to have Rocky seen by

      a medical professional within two days following him being released on August 17, 2019.

      The hospital also noted his need for his psychotic medication. Finally, the hospital placed

      Rocky on 24-hour suicide watch due to his history of attempted suicide.




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17.   Three (3) days later, Rocky Chaney was found naked and hanging dead by an inmate

      inside of his cell while on suicide watch.

18.   It is well known that nearly all jail suicide deaths are the result of the victim hanging

      themselves. In fact, the U.S. Department of Justice, states that 93% of all suicides in jail

      are the result of the inmate hanging themselves, mostly with either bedding or clothing.

      Yet, the Acadia Parish Jail placed an inmate who had already proven he was capable of

      committing suicide into a cell with an easily accessible metal vent that sits right above

      the latrine and which can be easily accessed by simply standing on the latrine. This vent

      might as well have been a metal hook because that is exactly what it was used as. It was

      so strong that it allowed Rocky to literally hang from it.

19.   APJ was made aware of Rocky’s vital mental health prescriptions at time of booking.

20.   APJ admitted in the record that it refused Rocky’s vital psychotic medications.

21.   APJ was made aware on August 17, 2019, that Rocky attempted to commit suicide.

22.   APJ is given strict instructions by Acadia General Hospital to have Rocky seen by a

      medical professional within 2 days following his release after attempting suicide on

      August 17, 2019.

23.   The record is clear that APJ never complied with the physician instructions given by

      Acadia General. Following his attempted suicide and instructions by AGH, Rocky was

      never seen by a mental health professional and not even a medical professional for the

      remainder of his life.

24.   The record shows that APJ never even consulted a medical professional on his behalf, nor

      attempted to contact his medical doctor.




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25.   Following Rocky’s attempted suicide on August 17, 2019, the record is clear that his wife

      was never contacted and never informed about the incident.

26.   Medical records from Acadia General Hospital (AGH) show that after his suicide attempt

      while in custody of APJ on August 17, 2019, the physicians at AGH placed him on

      suicide watch.

27.   Jail records and video surveillance files show that on August 17, 2019, after being

      released from AGH, Rocky is placed on 24-hour suicide watch and is placed in a tiny

      detox cell with only one window located on the door of the cell.

28.   This detox cell is fixed with a non-stop camera monitoring system that easily allows

      anyone with a computer or laptop to view inside of the entire cell at all times. All an

      Officer of the jail has to do is look at the screen to observe Rocky Chaney in his tiny

      detox cell.

29.   This video monitoring system allows APJ Officers to be able to observe Rocky Chaney at

      any time and without having to physically walk to his cell door or sit outside his cell door

      in order to observe him.

30.   Jail Logs show that while Rocky was on 24-hour suicide watch, Officers for APJ:

             a. On multiple occasions falsified records that he was still being observed,
                   i. See Suicide logs August 18, 2019, August 19, 2019, and August 20,

                          2019.

                       ii. Officer Junius Bellard stated in interview with Detective Broussard that

                          he admits that he falsified suicide watch observation records by writing

                          them in advance.




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                    iii. Officer Benoit stated in interview with Detective Broussard that he was

                         too aware that Rocky Chaney was not being observed while on suicide

                         watch.

             b. That Officers intentionally failed to properly document their observation of

                 Rocky and his conditions/status.

             c. Intentionally failed to observe Rocky Chaney while on suicide watch. APSO

                 Jail Logs prove that APJ Officer falsified records that Rocky was still being

                 observed while on suicide watch.

             d. Log shows that on August 20, 2019, APJ Officer Junius Bellard documented

                 that at 19:50 hours, “visual rounds made at all tiers.” This is a falsified

                 document. Video surveillance file from inside Rocky’s cell proves that Rocky

                 Chaney was hanging at this time and was not found by Officer Bellard because

                 Officer Bellard did not in fact perform the rounds check he documents.

                      i. Video Surveillance from the hall right outside Rocky’s cell at 19:50

                         hours also proves that no APJ Officer made a visual round at Rocky’s

                         cell.

             e. It is important to note that to observe Rocky Chaney on suicide watch in his

                 detox cell, all Officer Bellard had to do was look at his screen which has the

                 video surveillance of Rocky’s cell.

31.   The Suicide Logs show that Rocky Chaney was left unobserved on extreme suicide watch

      from 8:30AM on 8/20/2019 until another inmate found him dead hanging at 8:15PM.

32.   The Jail Logs also prove that even after APJ finally found Rocky Chaney hanging in his

      cell, it took them nearly 20 minutes to call 911.



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 33.   In interviews with Detective Broussard on the same day, both Officer Benoit and Officer

       Bellard admitted this to be true.

 34.   When questioned by Detective Broussard as to why it took nearly 20 minutes to even dial

       911 after finding Rocky hanging, Officer Bellard stated that it was jail policy and procedure

       that he is NEVER allowed to call 911 without first getting approval to do so from his

       superiors, Sergeant.

 35.   The Detectives then attempted to see how strong this policy and procedure was by

       providing multiple hypotheticals to Office Bellard including what if he finds multiple

       Officers bleeding everywhere due to a jail riot or event, is he then allowed to call 911?

       Officer Bellard stated, NO.

 36.   Officer Bellard under video questioning by Detectives stated the following:

       a.     Office Bellard stated “it was procedure to not call 911.”

                       i. At 23:14 in the interview, Office Bellard is questioned why he never

                          called 911 after finding or learning of Rocky hanging in his cell, Office

                          Bellard stated “I was just following orders”

                      ii. Detective: “You don’t do anything without talking to your sgt?”

                     iii. Bellard: “yes.”

                     iv. Detective: “Even if it’s life or death?

                      v. Bellard: “Yes.”

       b.     Bellard admits that he was too busy to observe Rocky Chaney because he had other

              things to do such as take phone-calls during watch.




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 37.   Sgt. Benoit stated under questioning by Detective Broussard that when he came on shift on

       August 20, 2019, he saw that the suicide watch logs were no longer being observed and so

       he contacted the jail medic to ask if Rocky was taken off suicide watch and was told No.

 38.   Sgt. Benoit then told the Detectives that he then told the jail medic “well, don’t have to do

       logs for Rocky anymore.”

 39.   There is a camera inside of the cell Rocky Cheney was being held in while he was on

       suicide watch. This camera means that to observe Rocky Cheney, all an Officer had to do

       was pulled up the screen on their computer. In fact, the Officer could have left the screen

       box open on his computer to monitor him constantly without the Officer having to move

       an inch or say a thing.

 40.   Video Surveillance of inside Rocky’s cell:

       a.     Starting around 00:34:03 hours on 8/20/19, the video shows Rocky on multiple

              occasions starts the process of trying to hang himself. This is seen multiple times

              on the video.

       b.     At 10:13 hours, Rocky is once again seen trying to prepare for his suicide attempt.

              He can be seen standing on the latrine up against the preparing to hang himself.

       c.     At 12:49 Rocky again is seen on camera trying to prepare for hanging himself as

              he is seen trying to make a noose around his neck.

       d.     At 13:05 Rocky starts writing his large final death note on the front wall that is

              visible to anyone who looks in his window into his cell or looks into his cell.

 41.   This death note is easily visible on camera as well as in person and is visible to anyone

       who dares to look for four (4) hours prior to Rocky starting to hang himself.




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       a.       At 17:42 hours Rocky is seen on camera once again trying to position himself and

                preparing for his own hanging by standing up against the wall to see how to tie

                himself.

       b.       At 17:56 Rocky is seen on camera starting to hang himself in front view of his cell

                window.

       c.       At 18:03 Rocky’s body can be seen no longer moving.

       d.       At 20:17:24 this is the first time an Officer from APJ checks on him and finds

                him hanging after being alerted by another inmate.

       e.       At 20:48:49 the first paramedic is seen on camera near his cell.

       f.       Over 30 minutes passed from the time APJ Officer found Rocky hanging to when

                a paramedic shows up at his cell.

 42.   Specifics of Video Surveillance of Hall next to Rocky Chaney’s cell where he is on suicide

       watch:

       a.       At 16:10:23 a APJ Officer is seen opening Rocky’s cell and looks directly at the

                wall and still doesn't say anything regarding the large death note written on the wall.

                There is never any reporting of this death note in the logs.

       b.       Rocky is on suicide watch and is supposed to have no objects and yet not only does

                the Officer not inquire about why there is a large death note on the wall that is not

                supposed to be there and wasn’t there the day before, but he doesn’t even inspect

                or inquire as to how or what Rocky used to write it or its meaning.

       c.       At 16:12:52 the APJ Officer and APJ medic open his cell and Rocky’s death note

                goes again completely unnoticed or intentionally bypassed.

       d.       At 16:16:19 the APJ medic opens Rocky’s cell again for a short amount of time but



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              again makes no inquiry about the large death note located on the wall facing him.

       e.     At this same time, under questioning by Detectives, this APJ Medic says he,

              without any consult from a medical professional, decided Rocky was no longer

              required to be on suicide watch despite the presence of a death or suicide note in

              plain view of the officer(s). Again, no inquiry is made about the death note

              on the wall staring him in the face. Also, Rocky is not even three days removed

              from his previous suicide attempt.

 43.   No report of this note is logged as well.

 44.   An officer should have logged it, inspected the note, inspected why and how it got there

       but that never happened on multiple occasions.

 45.   At 17:51 the APJ medic walks right pass Rocky’s cell and doesn't look in the window nor

       does a physical check on Rocky.

 46.   At 17:53-55 Rocky’s body is now hanging in view of the cell door window as workers are

       seen on camera working on the cell door to the right.

 47.   At 17:56 an APJ Officer is seen walking within arm’s length of Rocky's cell as he remains

       hanging and still alive. But does not even attempt to turn to look into Rocky’s window.

 48.   At 17:59:28 an Officer again walks right past his cell while Rocky is hanging directly in

       front of the window and does not turn to look in the window or check on Rocky.

 49.   At 18:01:45 Officer again walks right pass Rocky's windowed cell while he is hanging and

       does not turn to look in the window or check on Rocky.

 50.   At 18:03:26 Officer walks literally right next to Rocky's window while he's still hanging

       and doesn't look in the window or check on Rocky.




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 51.   At 18:07:51 again an Officer literally walks right pass Rocky's window as he is hanging

       and doesn't turn to look in the window or check on Rocky.

 52.   At 18:08:25 again an Officer literally walks right pass Rocky's window as he is hanging

       and doesn't turn to look in the window or check on Rocky.

 53.   At 18:13:21 a female Officer walks right pass his windowed cell as he is hanging and does

       not turn to look in the window or check on Rocky.

 54.   At 18:16:54 medic Guidry walks right pass Rocky’s cell and window as he is hanging and

       does not even turn to look in the window or check on Rocky.

 55.   At 18:17:27 again an Officer literally walks right pass Rocky's window as he is hanging

       and does not turn to look in the window or check on Rocky.

 56.   At 18:18:34 again an Officer literally walks right pass Rocky's window as he is hanging

       and does not turn to look in the window or check on Rocky.

 57.   At 18:23:20 again an Officer literally walks right pass Rocky's window as he is hanging

       and does not turn to look in the window or check on Rocky.

 58.   At 18:24:42 again an Officer literally walks right pass Rocky's window as he is hanging

       and does not turn to look in the window or check on Rocky.

 59.   At 18:27:55 again an Officer literally walks right pass Rocky's window as he is hanging

       and does not turn to look in the window or check on Rocky.

 60.   At 18:29:45 again an Officer literally walks right pass Rocky's window as he is hanging

       and does not turn to look in the window or check on Rocky.

 61.   At 18:35:10 again an Officer literally walks right pass Rocky's window as he is hanging

       and does not turn to look in the window or check on Rocky.




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 62.   At 18:36:20 again an Officer literally walks right pass Rocky's window as he is hanging

       and does not turn to look in the window or check on Rocky.

 63.   At 18:36:59 again an Officer literally walks right pass Rocky's window as he is hanging

       and does not turn to look in the window or check on Rocky.

 64.   At 19:25:10 again an Officer literally walks right pass Rocky's window as he is hanging

       and does not turn to look in the window or check on Rocky.

 65.   At 19:27:40 again an Officer literally walks right pass Rocky's window as he is hanging

       and does not turn to look in the window or check on Rocky.

 66.   At 19:35:59 again an Officer literally walks right pass Rocky's window as he is hanging

       and does not turn to look in the window or check on Rocky.

 67.   At 19:37:27 again an Officer literally walks right pass Rocky's window as he is hanging

       and doesn't turn to look in the window or check on Rocky.

 68.   At 19:41:21 again an Officer literally walks right pass Rocky's window as he is hanging

       and doesn't turn to look in the window or check on Rocky.

 69.   At 19:43:23 again an Officer literally walks right pass Rocky's window as he is hanging

       and doesn't turn to look in the window or check on Rocky.

 70.   At 19:43:23-19:55:21 Logs state on page 2 of the APSO Logs that the Officer made rounds

       at 19:50 and that is a falsified statement and document.

 71.   At 19:55:21 again an Officer literally walks right pass Rocky's window as he is hanging

       and doesn't turn to look in the window or check on Rocky.

 72.   At 19:58 an officer stops literally right in front of Rocky’s cell and window for about 10

       seconds and still doesn’t even look towards his window or check on Rocky.




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 73.   At 20:04:10 two Officers walk right by his window and fail to look into his window or do

       a check on Rocky as he remains hanging in plain view.

 74.   At 20:14:11 again an Officer literally walks right pass Rocky's window as he is hanging

       and doesn't turn to look in the window or check on Rocky.

 75.   At 20:15:49 an inmate and not anyone employed by the APJ, finds Rocky hanging by

       simply looking into his cell window.

 76.   Video shows that the inmate was able to see Rocky hanging simply by peering into the

       window of Rocky’s cell.

 77.   At 20:17:24 Officers finally open his cell door.

 78.   At 20:18:34 after finding him hanging, an Officer casually walks pass his cell with no

       urgency.

 79.   At 20:20:38 two Officers can be seen on camera just standing around.

 80.   At 20:48 Acadian Ambulance finally arrives to the scene.

 81.   Video footage shows that Acadia Parish Jail Officers and/or medics walked within arm’s

       length of Rocky’s window and cell an astonishing thirty times (30) during nearly three (3)

       hours he was hanging, and nobody noticed his body hanging in plain view and nobody ever

       thought to check on him.

 82.   The Inmate who found him hanging proved that all the APJ had to do was simply look into

       his cell window as he did and Rocky would have been noticed and saved.

 83.   The Acadia Parish Jail went four (4) hours from the time of last contact with Rocky to

       when they found him dead. And before those four (4) hours, Rocky went unwatched for

       over five (5) more hours while on suicide watch.




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 84.   Furthermore, Rocky Chaney went a total of thirteen (13) hours while on suicide watch

       without being continuously monitored.

 85.   If APJ had done even the most basic attempt of monitoring him such as observing the

       camera located in his cell, APJ would have seen that on many occasions throughout the

       final 13 hours of Rocky’s life, Rocky could be seen physically preparing to hang himself.

 86.   The risk of serious harm and/or death to Mr. Chaney was known, must have been known

       or should have been known to the defendants, who failed to take appropriate and necessary

       measures to protect and preserve his life and safety, as set forth herein.

 87.   The actions of the defendants as set forth herein, resulted in the suffering and death of Mr.

       Chaney.

 88.   The acts and omissions of the defendants, as described herein, were under color of law and

       in the course and scope of their employment.

                              VI.     FIRST CAUSE OF ACTION

 89.   Plaintiffs repeat and re-allege each and every allegation of the complaint.

 90.   The defendants, acting individually and together, and under the color of law, engaged in a

       course of conduct and conspired to engage in a course of conduct which acted to deprive

       Rocky Chaney of his constitutional rights and did deprive him of said rights, specifically,

       the right of Rocky Chaney to reasonable and adequate medical care, the right to be free

       from cruel and unusual punishment, the right to be free from unreasonable search and

       seizures, the right to liberty, the right to be free from undue bodily restraint, and the right

       to due process and equal protection of the laws as protected by the First, Fourth, Eighth,

       and Fourteenth Amendments of the United States Constitution and 42 U.S.C. 1983.




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 91.   At all times pertinent herein the defendants acting individually and collectively acted

       unreasonably, recklessly and with deliberate indifference and disregard for the

       constitutional and civil rights and life and serious medical needs of the deceased, Rocky

       Chaney.

 92.   The defendants’ actions were reckless, willful, wanton and malicious.

 93.   Defendants, individually and collectively, had the duty and ability to intervene to prevent

       the violations of the rights of Rocky Chaney, deceased, described herein, but failed to do

       so.

 94.   Plaintiff further alleges that such acts and omissions as stated herein were the proximate

       cause and cause in fact of the injuries sustained and the death of Rocky Chaney and the

       damages incurred thereby.

                            VII.   SECOND CAUSE OF ACTION

 95.   Plaintiff repeats and re-alleges each and every allegation of the complaint.

 96.   The Defendants acting individually and collectively, established, condoned, ratified and

       encouraged customs, policies, patterns and practices at the Acadia Parish Jail which

       directly and proximately caused the deprivation of the civil and constitutional rights of the

       deceased as alleged herein, and the injuries and damages described herein, in violation of

       the First, Fourth, and Fourteenth Amendments to the U.S. Constitution and 42 U.S.C. 1983.

 97.   These written and unwritten policies, customs and practices included among others,

       a.     Inadequate, improper and unreasonable screening, treatment, monitoring, and

              supervision of the serious medical and psychiatric needs of persons in custody.

       b.     Inadequate and unreasonable sick call, referral and follow-up procedures relative

              to the serious medical and psychiatric needs of persons in custody.



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       c.   Inadequate and unreasonable on-site medical and psychiatric staffing and

            coverage.

       d.   Hiring of inadequately trained persons to render medical and psychiatric treatment

            to persons in custody.

       e.   Inadequate training, supervision and discipline of medical personnel responsible

            for furnishing medical and psychiatric treatment and services to persons in

            custody.

       f.   Inadequate hiring, training, supervision and discipline of deputies and supervisors

            responsible for the observation and monitoring of suicidal prisoners and the

            identification and communication of serious medical needs of persons in custody

            to appropriate medical personnel.

       g.   A pattern and practice of deputies and medical personnel ignoring prisoners’

            requests and needs for medical and/or psychiatric attention so that prisoners’

            serious medical and psychiatric needs were frequently ignored and, in those

            instances where medical and/or psychiatric treatment was ultimately obtained, it

            was often unreasonably delayed and inadequate to the medical and psychiatric

            needs of the prisoners, causing serious pain, suffering, injury and/or death.

       h.   Inadequate and unacceptable policies, procedures and practices relating to placing

            persons on suicide watch, including but not limited to the following,

            i.     Failing to require regular, frequent and meaningful assessment of the

                   physical and mental status and condition of suicidal prisoners.

            ii.    Failing to require regular, frequent, meaningful and proper documentation




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                    of prisoners under suicide watch by nurses and/or qualified medically

                    trained personnel which include but are not limited to conducting

                    meaningful assessments, taking vital signs, and providing therapeutic care.

            iii.    Failing to require that policies, procedures and practices in the jail for

                    treatment of suicidal and mentally ill prisoners comport with medically

                    accepted standards in the community.

            iv.     Inadequate training, supervision and discipline of deputies who are

                    required to observe and monitor prisoners on “suicide watch” and report

                    and record accurately their observations.

            v.      Failing to require adequate physical and mental evaluations of inmates to

                    determine whether the use of “suicide watch” procedures were effective.

            vi.     Allowing prisoners to be held in “suicide watch” for unreasonable periods

                    of time without requiring adequate physical and psychiatric examinations

                    by a physician, psychiatrist or other appropriately licensed and trained

                    medical personnel.

            vii.    Permitting and condoning violations by medical and security personnel of

                    written policies and procedures regarding medical and psychiatric care of

                    persons who are suicidal or in acute mental health distress, resulting in

                    significant discrepancies between written policies and procedures and

                    actual practice and custom, with no meaningful discipline, consequences

                    or accountability for said violations or discrepancies, to the detriment of

                    the health, safety and welfare of the prisoners in their care.

            viii.   Inadequate review or quality control of suicide watch orders, procedures



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                   and conditions to ensure that they are being properly implemented and

                   monitored.

            ix.    Inadequate documentation and record keeping of suicide watch

                   observation forms of individuals who are under “suicide watch” by failing

                   to adequately train personnel who fill out these reports, failing to require

                   detailed, content-based reporting, failing to make these reports an integral

                   part of the prisoner’s medical records, and failing to require or insure

                   frequent, regular review of these documents by medically trained

                   personnel, among deficiencies.

            x.     Failing to provide adequate staffing for monitoring, evaluating and

                   treating prisoners under “suicide watch.”

            xi.    Improper use of “suicide watch” as punishment and discipline.

            xii.   Allowing medical and security personnel to prepare inadequate progress

                   notes and records regarding the condition of prisoners who are suicidal or

                   experiencing acute mental health crisis, without appropriate discipline or

                   accountability.

       i.   Inadequate and unacceptable policies, procedures and practices relating to

            treatment, observation and monitoring of persons who are suicidal or in need of

            care for serious medical issues, including but not limited to the following,

            i.     Accepting prisoners into the jail who are suicidal when the facility lacks

                   appropriate and safe facilities, and has inadequate staff, policies and

                   procedures for their care and safety.




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              ii.      Designing and implementing a “Suicide Watch” program that is

                       dehumanizing, counter-productive, anti-therapeutic, harmful, and

                       ineffective.

              iii.     Allowing, condoning, permitting and/or ratifying untrained and

                       undisciplined correctional officers to do monitoring and observation of

                       suicidal prisoners.

              iv.      Allowing, condoning, permitting, and/or ratifying the practice of

                       correctional officers not properly or truthfully filling out APJ Suicide

                       Watch Observation Checklists contemporaneously with the observation.

              v.       Accepting prisoners into APJ who have serious medical and psychiatric

                       conditions, when the facility lacks appropriate and safe conditions, and

                       had inadequate staff, policies and procedures for the care and safety of the

                       prisoners.

       j.     Inadequate, deficient or non-existent treatment plans for patients who are suicidal

              and experiencing an acute mental health crisis.

       k.     Inadequate quality control policies, procedures and practices, inadequate critical

              incident review, inadequate mortality reviews and inadequate identification and

              correction of serious deficiencies in policy and practices affecting the delivery

              and quality of medical and psychiatric services.

 98.   At all pertinent times herein the defendants acted unreasonably and with deliberate

       indifference and disregard for the constitutional and civil rights and life and safety of the

       deceased, Rocky Chaney. The actions of the defendants were malicious, willful, wanton

       and reckless.



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 99.    Plaintiff further alleges that such acts and omissions as alleged herein were the proximate

        cause and cause in fact of the injuries sustained, the death of the Rocky Chaney and the

        damages incurred.

                              VIII. THIRD CAUSE OF ACTION

 100.   Plaintiff repeats and re-alleges each and every allegation of the complaint.

 101.   Rocky Chaney was a person with a disability under Section 504 and the Americans with

        Disabilities Act.

 102.   Defendant Acadia Parish Sheriff is in charge of the Acadia Parish Sheriff’s Office and is a

        public entity that must comply with Section 504 and the Americans with Disabilities Act.

 103.   The Plaintiff is entitled to relief against the defendants, particularly the Sheriff, as he and

        the Sheriff’s Office had notice of Rocky Chaney’s disability, had the means to reasonably

        accommodate his disability, and failed to make that reasonable accommodation.

 104.   Section 504 of the Rehabilitation Act requires recipients of federal funds, including

        defendant Acadia Parish Sheriff and the Sheriff’s Office, to reasonably accommodate

        persons with disabilities in their facilities, program activities and services. It further

        requires such recipients to modify such facilities, services and programs as necessary to

        accomplish this purpose. Defendant Sheriff and the Sheriff’s Office have been and are

        recipients of federal funds.

 105.   The ADA defines discrimination as the failure to take necessary steps to ensure that no

        individual with a disability is excluded, denied services, segregated, or otherwise treated

        differently than other individuals because of the absence of services for the disabled. Such

        services include, inter alia, provisions necessary to achieve effective mental health care and

        protect a person from suicide.



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 106.   Instead of accommodating Rocky Chaney’s needs, the defendant Sheriff and the Sheriff’s

        office denied Mr. Chaney services and programs available to others, including but not

        limited to access to appropriate medication, access to attorney-client and spiritual/religions

        visits, family contact, access to a telephone, and access to appropriate care and treatment

        that could have protected him from suicide and could have reduced the risk of harm of

        suicide. The failure to accommodate Rocky Chaney’s disability was intentional and/or

        deliberately indifferent to Rocky Chaney’s rights under Section 504 and Title II of the

        ADA and was a proximate cause of his death.

 107.   The APJ failed to take necessary steps to ensure that no individual with a disability or with

        mental illness which could result in suicide is excluded, denied services, segregated, or

        otherwise treated differently than other individuals because of the absence of services for

        the disabled. Such services include, inter alia, provisions necessary to achieve effective

        mental health care and protect a person from suicide.

 108.   Instead of accommodating Rocky Chaney’s needs, the defendant Sheriff and the Sheriff’s

        office denied Mr. Chaney services and programs available to others, including but not

        limited to access to appropriate medication, access to attorney-client and spiritual/religions

        visits, family contact, access to a telephone, and access to appropriate care and treatment

        that could have protected him from suicide and could have reduced the risk of harm of

        suicide. The failure to accommodate Rocky Chaney was intentional and/or deliberately

        indifferent to Rocky Chaney’s rights under Section 504 and Title II of the ADA and was a

        proximate cause of his death.

                             IX.    FOURTH CAUSE OF ACTION

 109.   The plaintiff repeats and re-alleges each and every allegation of the complaint.



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 110.   The pendant jurisdiction of the Court is invoked for all claims under state law.

 111.   At all times described herein, the defendants, individually and collectively, acted

        negligently, with gross negligence and/or intentionally in denying reasonable, adequate and

        necessary medical care to Rocky Chaney, confining him in unsafe, unreasonable and

        dangerous conditions providing him with access to material with which to harm himself

        and inflicting physical injury and severe emotional, mental, and physical pain and suffering

        upon him, in violation of Louisiana law.

 112.   The actions of the defendants also caused the wrongful death of Rocky Chaney. At all

        pertinent times the defendant’s employees of the APJ were acting in the course and scope

        of their employment and the defendant sheriff in his official capacity is vicariously liable

        for the injuries sustained and damages incurred herein as a result of their actions.

 113.   The defendants each acted in derogation of their duties as professionals and their treatment

        of Rocky Chaney constituted egregious intentional conduct that constituted a wanton

        disregard for Mr. Chaney’s serious medical needs.

 114.   The defendants are liable for the wrongs complained of herein by virtue of encouraging,

        aiding, abetting, counseling, ratifying, and condoning the commission of the afore

        described acts, by their failure to properly administer, organize and staff the medical and

        correctional program at the jail and for the failure to properly screen, hire, train, supervise

        and discipline persons under their supervision and control whose acts and omissions

        contributed to the injuries sustained and the death of Rocky Chaney.

 115.   The defendants are liable pursuant to ad under the Eighth Amendment for denying humane

        conditions of confinement to Mr. Rocky Chaney particularly when they knew that the Mr.




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        Chaney faced a substantial risk of serious harm and disregarded that risk by failing to take

        reasonable measures to abate it.

 116.   The defendants are liable individually and jointly for their actions alleged herein.

 117.   Plaintiff further alleges that the above described acts and omissions were the proximate

        cause and cause in fact of the injuries described herein.



                                         X.      DAMAGES

 118.   As a result of the actions of the defendants as described above, damages have been incurred

        as follows:

        a.      Rocky Chaney (deceased) suffered conscious and severe physical, mental and
                emotional distress, pain and suffering and pre-death terror prior to his death and
                lost his life.

        b.      Olga Chaney, the wife of Rocky Chaney, suffered emotional pain and suffering,
                past, present, and future, and suffered the loss of love, affection, and
                companionship of her husband, Rocky Chaney.

        c.      Funeral and burial expenses were incurred as a result of the actions alleged herein.

                                  XI.      PRAYER FOR RELIEF

        WHEREFORE, the plaintiff prays that after due proceedings there be judgment rendered

 herein in the plaintiff’s favor and against all of the defendants individually and jointly, as follows,

        1.      Compensatory and punitive damages as prayed for herein;

        2.      Reasonable attorneys’ fees, all costs of these proceedings including expert witness

                fees under 42 U.S.C. 1988 and 12205, et seq. and legal interest;

        3.      That this matter be tried by jury; and

        4.      All other relief that this Honorable Court deems just and proper.




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                                    Respectfully submitted:



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